 Case: 1:13-cv-00341-MRB Doc #: 456 Filed: 05/10/22 Page: 1 of 2 PAGEID #: 20129                     (1 of 2)




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: May 10, 2022


Mr. Edward Dean Greim
Graves Garrett
1100 Main Street
Suite 2700
Kansas City, MO 64105

                     Re: Case No. 22-3357, In re: NorCal Tea Party Patriots, et al
                         Originating Case No. : 1:13-cv-00341

Dear Sir or Madam,

  The Court issued the enclosed Order today in this case.

                                                  Sincerely yours,

                                                  s/C. Anthony Milton
                                                  Case Manager
                                                  Direct Dial No. 513-564-7026

cc: Mr. Richard W. Nagel

Enclosure

No mandate to issue
 Case: 1:13-cv-00341-MRB Doc #: 456 Filed: 05/10/22 Page: 2 of 2 PAGEID #: 20130            (2 of 2)




                                       Case No. 22-3357

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                            ORDER



In re: NORCAL TEA PARTY PATRIOTS; SOUTH DAKOTA CITIZENS FOR LIBERTY,
INC.; AMERICANS AGAINST OPPRESSIVE LAWS, INC.; TEXAS PATRIOTS TEA
PARTY; SAN ANGELO TEA PARTY

             Petitioners



   Upon consideration of the petitioners’ motion to voluntarily dismiss the appeal herein

pursuant to Rule 42(b), Federal Rules of Appellate Procedure,

   It is ORDERED that the motion is GRANTED and the appeal is dismissed.

                                                ENTERED PURSUANT TO RULE 45(a),
                                                RULES OF THE SIXTH CIRCUIT
                                                Deborah S. Hunt, Clerk


Issued: May 10, 2022
                                                ___________________________________
